                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                   3:04 CV 234

BURTON A. GELLMAN and                           )
THE GELLMAN CORPORATION.                        )
                    Plaintiffs,                 )
                                                )
      vs.                                       )                   ORDER
                                                )
THE CINCINNATI INSURANCE CO.,                   )
                    Defendant.                  )
                                                )


       THIS MATTER IS BEFORE THE COURT on its own motion. The scheduling deadlines

set forth in the Order Amending Pretrial Order and Case Management Plan [doc. 25] are no

longer in effect due to the numerous motions and orders that have been entered in this case.

       IT IS THEREFORE ORDERED that the scheduling deadline be amended as follows:

               1) Discovery is to be completed by July 1, 2007,

               2) Dispositive motions are to be filed by August 1, 2007.

               3) The trial of this matter be set for November 5, 2007.

       IT IS SO ORDERED.

                                                Signed: March 28, 2007




       Case 3:04-cv-00234-GCM           Document 43        Filed 03/28/07     Page 1 of 2
C   a   s   e   3   :   0   4   -   c   v   -   0   0   2   3
